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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                   }
              Plaintiff-Respondent          }
                                            }
v.                                          }      CRIMINAL ACTION NO. H-95-142-43
                                            }      CIVIL ACTION NO. H-03-3861
FEDERICO PEREZ, JR.,                        }
              Defendant-Petitioner          }


                              MEMORANDUM AND ORDER

       Presently before the Court are Petitioner Federico Perez Jr.’s Motion to Vacate, Set Aside

or Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc. 2502); the Government’s response and

motion to dismiss (Doc. 5240); Petitioner’s reply (Doc. 5257); and the Magistrate Judge’s

Memorandum and Recommendation (Doc. 5585). After carefully considering the record and the

applicable law, the Court concludes that Petitioner’s Motion to Vacate, Set Aside or Correct

Sentence pursuant to 28 U.S.C. § 2255 should be DENIED as time-barred and the Government’s

motion to dismiss should be GRANTED. The Court adopts the Magistrate Judge’s Memorandum

and Recommendation in full.

       SIGNED at Houston, Texas, this 27th day of September, 2006.




                                                   ______________________________________
                                                            MELINDA HARMON
                                                     UNITED STATES DISTRICT JUDGE
     Case 4:95-cr-00142 Document 5691 Filed on 09/27/06 in TXSD Page 2 of 2




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                    }
                      Plaintiff-Respondent             }
                                                              }
v.                                                            }      CRIMINAL ACTION NO. H-
                                                                     95-142-43
                                                              }      CIVIL ACTION NO. H-03-
                                                                     3861
FEDERICO PEREZ JR.,                                    }
                      Defendant-Petitioner             }


                               ORDER DISMISSING ACTION

              After careful and independent consideration of the record in this case, the Court
              ORDERS that Petitioner Federico Perez Jr.’s Motion to Vacate, Set Aside or Correct
Sentence pursuant to 28 U.S.C. § 2255 is DENIED and his action DISMISSED.

              SIGNED at Houston, Texas, this               day of September, 2006.



                                                       ______________________________________
                                                                MELINDA HARMON
                                                         UNITED STATES DISTRICT JUDGE




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